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2    KYMBERLY A. SMITH
     Assistant U.S. Attorney
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     Sacramento, California 95814
4    Telephone: (916) 554-2771
5
6
               IN THE UNITED STATES DISTRICT COURT FOR THE
7
                       EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,        )
10                                    ) CR.S. 04-406 FCD
               Plaintiff,             )
11                                    )
                                      ) JOINT STIPULATION TO CONTINUE
12                                    ) STATUS HEARING
                                      )
13                                    )
                                      ) Date:   February 6, 2006
14   Charley Joseph Stephenson,       ) Time:   9:30 a.m.
                                      ) Court: Honorable Frank C.
15                                    )         Damrell Jr.
               Defendant.             )
16                                    )
17
          COMES NOW the United States of America, by and through its
18
     attorneys, McGregor W. Scott, United States Attorney for the
19
     Eastern District of California, and Kymberly A. Smith, Assistant
20
     United States Attorney, as well as James R. Greiner counsel for
21
     defendant, and respectfully request that the change of plea
22
     hearing currently scheduled for Monday, February 6, 2006, be
23
     continued to Tuesday, February 21, 2006, at 9:30 a.m.         The
24
     parties who are in the midst of negotiations are waiting to
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     receive additional information which is material to the
26
     disposition of this matter.     The parties also request that time
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     continue to be excluded for preparation of counsel, pursuant to
28

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1    Local Code T4, and Title 18, United States Code, Section
2    3161(h)(8)(B)(iv).
3
                          Respectfully submitted,
4                         McGREGOR W. SCOTT
                          United States Attorney
5
                             /s/ Kymberly A. Smith
6                         KYMBERLY A. SMITH
                          Assistant United States Attorney
7
                            /s/ Kymberly Smith for James R. Greiner
8                        JAMES R. GREINER, Attorney at Law
                         Counsel for defendant, Charley Joseph
9                        Stephenson
     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
10
                                      ORDER
11
          Based upon the foregoing and for good cause shown, it is
12
     hereby ORDERED that the change of plea hearing currently
13
     scheduled for Monday, February 6, 2006, be and the same hereby is
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     CONTINUED to Tuesday, February 21, 2006, at 9:30 a.m., all
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     parties to be present.
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          It is FURTHER ORDERED that at the request of both parties,
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     time shall continue to be excluded for preparation of counsel,
18
     pursuant to Local Code T4, and Title 18, United States Code,
19
     Section 3161(h)(8)(B)(iv), through February 21, 2006.
20
     IT IS SO ORDERED.
21
     DATED: February 6, 2006
22
                                /s/ Frank C. Damrell Jr.
23                              THE HONORABLE FRANK C. DAMRELL, JR.
                                United States District Court
24                              Eastern District of California
25
26
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